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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

MAURICE MARCELL CARTER,                       :

       Petitioner,                            :

vs.                                           :   CIVIL ACTION NO. 08-0380-CG-C

UNITED STATES OF AMERICA,                     :   CRIMINAL ACTION NO. 07-0046-CG

       Respondent.                            :


                                       JUDGMENT

       In accordance with the order entered on this date, it is hereby ORDERED,

ADJUDGED, and DECREED that petitioner’s motion to vacate, set aside or correct sentence,

filed pursuant to 28 U.S.C. § 2255, be DENIED.

       DONE and ORDERED this 26th day of November, 2008.


                                           /s/ Callie V. S. Granade
                                           CHIEF UNITED STATES DISTRICT JUDGE
